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_ _ _W.D. OF TN, mava 3$';
DAISY McKINNEY, individually and as

Next Friend of WILLIE McKINNEY, an
incapacitated person,

Plaintiff,

KINDRED HEALTHCARE, INC.; KINDRED HEALTHCARE
OPERATING, INC.; KINDRED NURSING CENTERS
LIMITED PARTNERSHIP d/b/a SPRING GATE
REHABILITATION AND HEALTHCARE CENTER;

RENEE B. TUTOR, in her capacity as
Administrator Of SPRING GATE REHABILITATION
AND HEALTHCARE CENTER,

Defendants.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that, in accordance with the Order
Granting Plaintiff’s Motion to Remand, docketed June 13, 2005, this
action is remanded to the Circuit Court of Tennessee for the
Thirtieth Judicial District at Memphis.

APPRO\B:(/ l

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02222 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

